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                            CLANCY-CULLEN
                              MOVING & STORAGE CoMPANY, INC.




September 24, 2015



United Stated Court House EDNY
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Swiss Holocaust Matters - 09-civ-3215 (ERK)

To whom it may concern,

This is a request to be granted a court order to destroy a shipment of documents related to Swiss
Holocaust matters that were left behind and subsequently recovered at the request of NYU from a
residence once owned by Edward Fagen.

Mr. Fagen has repeatedly denied responsibility for these papers and has refused to make payment for
the incurred storage charges. NYU has also relinquished any responsibility for the documents.

Please confirm this is acceptable or contact me at 718-514-6702 if you have any questions.

Sincerely,




                                                                        * SEP282015 *
Daniel Clancy                                                            BROOKLYN OFH:: .:=.
CLANCY-CULLEN MOVING & STORAGE




                  4 Warehouse Lane, #135, Ehnsford, New York 10523 800-223-8340
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CLANCY-CULLEN                                                                                                                                              04-~~~~-

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MOVING & STORAGE COMPANY, INC.                                                                                                                         !!!,.' - - • . . w w
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